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RETURN OF SERVICE

“ UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number: 1:20-CV-24346-KMW

Plaintiff:
ZHEJIANG JINKO SOLAR CO LTD

VS.

Defendant:
THESAN USA CORP

For:

Richard Lerner, Esq

Mazzola Lindstrom LLP

1350 Avenue of the Americas, 2nd Floor
New York, NY 10019

Received by DIRECT PROCESS SERVER LLC on the 13th day of January, 2021 at 4:21 pm to be served on THESAN USA CORP,
1221 BRICKELL AVENUE, SUITE 1160, P.O. Box 6327, Tallahassee, FL 32314.

|, Christopher Kady, do hereby affirm that on the 14th day of January, 2021 at 12:00 pm, I:

served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE by delivering a true copy of the
SUMMONS IN A CIVIL ACTION AND COMPLAINT with the date and hour of service endorsed thereon by me, to: BRIANNA
BIRO as DOCUMENT SPECIALIST for THESAN USA CORP, authorized to accept service, of the within named corporation, at the
alternate address of: 2415 NORTH MONROE STREET, SUITE 810, TALLAHASSEE, FL 32301, and informed said person of the
contents therein, in compliance with state statutes

Description of Person Served: Age: 27, Sex: F, Race/Skin Color: WHITE, Height: 57”, Weight: 130, Hair: BROWN, Glasses: Y
| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the

judicial circuit in which the process was served. "Under penalties of perjury, | declare that |
have read the foregoing document and that the facts in it are true" F.S_ 92.525. NOTARY NOT REQUIRED PURSUANT TO FS 92.525

   
 

Christopher Kad
Process Server 23

DIRECT PROCESS|SERVER LLC
22 SOUTHERN LB
SUITE 103
NESCONSET, NY 14767
(631) 406-6989

Our Job Serial Number: DPR-2021000075

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